         Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 1 of 21



                       THE UNITED STATES DISTRICT COURT
                        WESTERN D?STRICT OF NEW YORK


                                               )
UNITED STATES OF AMERICA ex rel.               )
MATTHEW BURKE and DAVID CURTIN,                )
                                               )
       Plaintiffs,                             )
                                               )
V.                                             )    Civil Action No:
                                               )    FILED UNDER SEAL
ROBERTO MANGI f/k/a ROBERTO                    )
MANGIARANO,                                    )
                                               )
MARINA AFRA a/k/a MARINA MANNINO )
a/k/a MARINA MANGIARINO, individually )
and in her capacity as partner/member/         )
shareholder of FUNDING MERCHANT                )
SOURCE, NY, INC., FUNDING MERCHANT )
SOURCE, LLC, FMS CAPITAL, LLC JET              )
STREAM CAPITAL, GOTHAM CAPITAL, INC, )
ELEVATION CAPITAL, LLC, and MERCY )
FALLS, LLC,                                    )
                                               )
LAWRENCE ("LARRY") SCH?AVI, individually )
and in his capacity as owner/partner/manager/ )
shareholder of BOOST BUSINESS FUNDING, )
LLC, FUNDING MERCHANT SOURCE, LLC, )
GOTHAM CAPITAL, INC., and ELEVATION )
CAPITAL, LLC,                                  )
                                               )
NEIL WALSH, individually and in his capacity )
as partner/managing member/shareholder of )
BOOST BUSINESS FUNDING, LLC,                   )
FUNDING MERCHANT SOURCE, LLC, and              )
ELEVATION CAPITAL, LLC                         )
                                               )
LUIS DANIEL MENDEZ, individually and in his )
capacity as partner/member of BOOST            )
BUSINESS FUNDING,LLC, FUNDING                  )
MERCHANT SOURCE, LLC, GOTHAM                   )
CAPITAL, INC., and ELEVATION CAPITAL, )
LLC                                            )
                                               )
JENNIFER RETAS, individually and in her         )
capacity as partner/shareholder of FUNDING      )
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 2 of 21



MERCHANT SOURCE NY, INC.,                 )
                                          )
MARIA BENTLEY, individually and in her )
capacity as a partner/member of BOOST     )
BOOST BUSINESS FUNDING, LLC,              )
                                          )
SOHRAB STEVEN AFRA a/k/a STEVEN           )
AFRA, individually and in his capacity as )
partner/member of GOTHAM CAPITAL, INC, )
FMS CAPITAL LLC, and MERCY FALLS, LLC, )
                                          )
BOOST BUSINESS FUNDING, LLC,              )
                                          )
FUNDING MERCHANT SOURCE NY, INC., )
                                          )
FUNDING MERCHANT SOURCE, LLC,             )
                                          )
FMS CAPITAL, LLC,                         )
                                          )
JET STREAM CAPITAL,                       )
                                          )
GOTHAM CAPITAL, LLC,                      )
                                          )
MERCY FALLS, LLC,                         )
                                          )
ELEVATION CAPITAL, LLC,                   )
                                          )
JOHN DOE COMPANIES 1-10,                  )
       Defendants.                        )
                                          )

                  QUI TAM COMPLAINT AND DEMAND FOR JURY TRIAL


      Plaintiffs/Relators Matthew Burke and David Curtin, by and through their

attorneys FLYNN, WIRKUS, YOUNG, P.C., bring this Complaint in the name of the

United States of America against Defendants, and allege as follows:

I.    PRELIM?NARY STATEMENT


      1 . This is an action to recover damages and civil penalties on behalf of the

United States of America ("the Government") under the federal False Claims Act

("FCA"), 31 u.s.c. §§3279 et seq., arising from Defendant Roberto Mangi ("Mangi")



                                           2
         Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 3 of 21



knowingly making, using, or causing to be made or used "a false record or statement

material to an obligation to pay or transmit money or property to the Government, or

knowingly [concealing? or knowingly and improperly [avoiding? or [decreasing? an

obligation to pay or transmit money or property to the Government." 31 u.s.c.

§3729(a)(1 )(G).

       2. Relators/Plaintiffs also seek recovery from all Defendants under New

York's Fraudulent Conveyance Statute, New York Debtor Creditor Law ("NY D&C Law")

§§270-276, as it is alleged that Defendant Mangi conveyed and continues to convey

income and assets to Defendant Marina Afra and through a complex web of interlocking

co-Defendant companies without fair consideration and in order to avoid paying an

obligation to and/or judgment docketed in favor of the Government. As such, Relators

seek damages, attorneys fees, and equitable relief of having any such fraudulent

conveyances annulled and set aside pursuant to NY D&C Law §278, as well as an

order of attachment without notice pursuant to NY CPLR §6211 against Defendants

Marina Afra and certain of the other Defendants under D&C Law §278 and under Article

62 of New York Civil Practice Law and Rules ("CPLR").

11.    PARTIES


       3. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

       4. Plaintiff/Relator Matthew Burke ("Burke") is a citizen of the United States

and a resident of the State of New York. Plaintiff Burke worked as a consultant with


Defendants Roberto Mangi, Boost Business Funding, LLC, and Neil Walsh, as an




                                             3
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 4 of 21



equipment Ieasing specialist from July 2015 to October 2015 and, as such, has unique

and first-hand knowledge of Defendants' dealings during such time.

      s. Plaintiff/Relator David Curtin ("Curtin") is a citizen of the United States and

a resident of the State of New York. Plaintiff Curtin worked with Defendants Roberto


Mangi, Boost Business Funding, LLC., Neil Walsh, Elevation Capital, LLC, Maria

Bentley, Luiz Daniel Mendez and Funding Merchant Source, LLC, as a Funding

Specialist in Buffalo, New York from April 10, 2015 to December 8, 2015, and worked

closely with Defendants Walsh, Mangi, Elevation and FMS, and, as such, was made

privy to inside information and has unique and first-hand knowledge of Defendants'

dealings during such time.

      6. Plaintiffs Matthew Burke and David Curtin bring this action for violations of

31 u.s.c. §3729 et seq., on behalf of themselves and the United States pursuant to 31

u.s.c. §3730(b)(1). Plaintiffs have knowledge of the Defendant's submission of false

claims to the federal government as alleged herein.

      7. Upon information and belief, Defendant Roberto Mangi ("Mangi"), also

known as Roberto Mangiarano, is an individual residing in Manhattan Beach, California

and operating businesses in the Western District of New York. Mangi, upon information

and belief, is the equitable or true owner/shareholder and or member in whole or in part

of Defendant companies Boost Business Funding, LLC; Funding Merchant Source NY,

Inc.; Funding Merchant Source, LLC; FMS Capital, LLC; Jet Stream Capital; Gotham

Capital, Inc.; Elevation Capital, LLC, and one or more other "John Doe" companies.

      8. Upon information and belief, Defendant Marina Afra is the sister of

Defendant Mangi and the wife of Defendant Sohrab Steven Afra, and resides in




                                           4
           Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 5 of 21



Hermosa Beach, California. Marina Afra is the partner/member/shareholder in full or in

part of Defendant companies Funding Merchant Source NY, Inc.; Funding Merchant

Source, LLC; FMS Capital, LLC; Jet Stream Capital; Gotham Capital, Inc.; Elevation

Capital, LLC, Mercy Falls, LLC, and one or more other currently unknown John Doe

companies controlled in whole or in part by Mangi.

         9. Upon information and belief, Defendant Lawrence Schiavi ("Schiavi") is a

resident of Clarence Center, New York, and is an owner, partner, manager, and/or

shareholder in whole or in part of Defendant companies Boost Business Funding, LLC;

Funding Merchant Source, LLC; Gotham Capital, Inc.; Elevation Capital, LLC, and one

or more other currently unknown John Doe companies controlled in whole or in part by

Mangi.

         10. Upon information and belief, Defendant Neil Walsh ("Walsh") is a resident

of Grand Island, New York, and is the main "front man" for Boost Business Funding,

LLC, and owner, partner, manager, and/or shareholder in whole or in part of Defendant

companies Boost Business Funding, LLC; Funding Merchant Source, LLC; Elevation

Capital, LLC; and one or more other currently unknown John Doe companies controlled

in whole or in part by Mangi.

         11 . Upon information and belief, Defendant Luis Daniel Mendez ("Mendez") is

a resident of East Amherst, New York, and is an owner, partner, manager, and/or

shareholder in whole or in part of Defendant companies Boost Business Funding, LLC;

Funding Merchant Source, LLC; Gotham Capital, Inc.; Elevation Capital, LLC, and one

or more other currently unknown John Doe companies controlled in whole or in part by

Mangi.




                                            s
         Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 6 of 21



       12. Upon information and belief, Defendant Jennifer Retas is a resident of

Woodbury, New York, and is a legal shareholder, in name only, of Defendant company

Funding Merchant Source NY, Inc., a company actually controlled solely by Mangi.

       13. Upon information and belief, Defendant Maria Bentley is a resident of

Buffalo, New York, and is a legal member and/or owner of Defendant Boost Business

Funding, LLC, a company actually controlled in whole or in part by Mangi.

       14. Upon information and belief, Defendant Sohrab Steven Afra ("Steven

Afra") is Defendant Marina Afra's husband, Defendant Mangi's brother-in-law and close

friend since childhood, and a resident of Hermosa Beach, California and Great Neck,

New York. He is a licensed attorney in New York and has been instrumental in forming

one or more of these Defendant companies on behalf of Mangi. He is a legal member

and/or owner of Defendant companies Gotham Capital, Inc, FMS Capital, LLC, and

Mercy Falls, LLC, as well as one or more other currently unknown John Doe companies

controlled in whole or in part by Mangi.

       15. Upon information and belief, Defendant Boost Business Funding, LLC,

("Boost") is a Delaware limited liability company selling and brokering high-interest

merchant cash advances operating out of a call center in Cheektowaga, New York and

is a company actually owned and controlled in whole or in part by Mangi.

       16. Upon information and belief, Defendant Funding Merchant Source NY,

Inc., ("FMS NY") is a New York corporation selling and brokering high-interest merchant

cash advances operating out of a call center in Jericho, New York, and is actually

owned and controlled in whole by Mangi.




                                           6
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 7 of 21



      17. Upon information and belief, Defendant Funding Merchant Source, LLC

("FMS CA"), is a Delaware limited liability company selling and brokering high-interest

merchant cash advances operating out of a call center in EI Segundo, California and a

company actually owned and controlled in whole or in part by Mangi. The California

Secretary of State lists FMS CA's address as 352 Sonwil Drive, Cheektowaga, NY, the

actual physical and operational address of co-Defendant Boost Business Funding.

      18. Upon information and belief, Defendant FMS Capital, LLC ("FMS Capital")

is a Nevada limited liability company listing its managing members as Defendant Marina

Afra and Defendant Mercy Falls, LLC. FMS Capital is a merchant cash advance direct

funder owned and controlled in whole by Mangi.

      19. Upon information and belief, Defendant Jet Stream Capital ("Jet Stream")

is a company formed or to be formed and its a merchant cash advance direct funder

owned and controlled in whole by Mangi.

      20. Upon information and belief, Defendant Gotham Capital, Inc., ("Gotham")

is a Nevada corporation listing its president as Defendant Steven Afra. Gotham is a

merchant cash advance direct funder owned and controlled in part by Mangi.

      21 . Upon information and belief, Defendant Mercy Falls, LLC ("Mercy Falls") is

a New York limited Iiability company formed upon information and belief by Defendant

Steven Afra to "insulate" Defendant FMS Capital, as Mercy Falls is a legal

owner/member of Defendant FMS Capital and upon information and belief is a company

owned and controlled in whole or in part by Mangi.

      22. Upon information and belief, Elevation Capital, LLC ("Elevation") is a

Delaware Iimited liability company and a direct funder/source of capital for merchant




                                           7
            Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 8 of 21



cash advances operating out of the same offices as co-Defendant Boost in

Cheektowaga, New York. Elevation is a merchant cash advance direct funder/source of

capital owned and controlled in part by Mangi and Defendants Schiavi and Mendez.

        23. Upon information and belief, Defendants John Doe Companies 1-10 are

yet-to be-named companies and/or entities owned and/or controlled in whole or in part

by Mangi.

111. JUR?SD?CTION AND VENUE


        24. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

        25. This Court has jurisdiction over the subject matter of this action pursuant

to 31 u.s.c. § 3732, which specifically confers jurisdiction on this Court for actions

brought pursuant to 31 u.s.c. §§ 3729 and 3730.

        26. Venue is proper in this district pursuant to 28 u.s.c. §1391 (b)-(c), and

31 u.s.c. §3732(a) because one or more Defendants resides and/or transacts business

within this district and the facts forming the basis of this Complaint occurred within this

district.


        27. The facts and circumstances of Defendants' violations of the federal FCA


have not been publicly disclosed in a criminal, civil, or administrative hearing, nor in any

congressional, administrative, or General Accounting Office or Auditor General's report,

hearing, audit, or investigation, or in the news media.

        28. Relators Burke and Curtin are the original source of the information upon

which this Complaint is based, as that phrase is used in the federal FCA.




                                             8
         Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 9 of 21



       29. A copy of this Complaint and written disclosure of substantially all material

evidence and information the Relators possess will be served on the Government

pursuant to Rule 4(d)(4) of the Federal Rules of Civil Procedure

       30. The Relators/Plainitffs have complied with all other conditions precedent

to bringing this action.

IV. FACTUAL BACKGROUND


       31. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

       32. On or about December 3, 2002, Defendant Roberto Mangi, then known as

Roberto Mangiarano, entered into a plea deal with the United States Attorney Office in

the Eastern District of New York, pleading guilty to one count of Conspiracy to Commit

Securities, Mail and Wire Fraud and one count of Conspiracy to Commit Money

Laundering.

       33. Consequently, Defendant Mangi was sentenced to fifty-one (51 ) months of

imprisonment on each count, to run concurrently, and to two (2) years of supervised

release on each count, to run concurrently.

       34. Defendant Mangi was required to pay $19,864,129.75 in restitution to his

former clients. Additionally, Defendant Mangi was barred from association with any

broker or dealer, barred from participating in any offering of penny stock, and ordered to

cease and desist from committing or causing any violations or future violations of

Section 17(a) of the Securities Act of 1933, Section 10(b) of the Securities Exchange

Act of 1934, and Exchange Act Rule lOb-s.




                                              9
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 10 of 21



       35. Defendant Mangi was also ordered to pay to the federal government

$1,028,737.86 plus prejudgment interest of $640,447.30 for a total of $1,669,185.16,

less any amount Defendant may show he has paid as restitution in his criminal case,

and to pay a civil penalty of $220,000.00.

       36. The Government docketed one or more judgments against Mangi in

Nassau County, New York, for over $1 g,ooo,ooo.

       37. Upon information and belief, Mangi has not satisfied the monies due and

owing the Government and, upon information and belief, has substantially

underreported his income and assets to avoid paying the Government these monies by

making false statements to the Government as to his ability to pay.

       38. It is estimated by Relators based on statements made by Mangi to them

as well as financial analysis by them as insiders that Mangi's income is at least $3.8

million per year from commissions alone and perhaps up to twice that amount from

profits, dividends and/or distributions from one or more of Defendant companies Mangi

owns and/or controls. Additionally, his net worth is extrapolated based on the revenues

of Defendant companies, their value, and the profit margins associated thereto at

between $10 and $20 million. Mangi has, upon information and belief, avoided officially

reporting any of this income or wealth primarily by shifting income and hiding his

ownership of the Defendant companies primarily through his sister, Marina Afra.

       39. Mangi came to this current position of wealth through his aggressive

salesmanship learned through his experience as a broker and "boiler room" salesman at

First United, Lexington Capital and Stockton Equities Group, the same association that




                                             qo
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 11 of 21



led to his indictment and aforementioned plea agreement for securities fraud and money

laundering.

      40. Upon information and belief, following Mangi's release from prison in July

of 2008, he somehow got a job selling merchant cash advances and learning the

business of alternative financing. As an aggressive salesman, Mangi did quite well,

according to his own words, and eventually started his own MCA brokerage company,

Funding Merchant Source NY, Inc. (FMS NY) being formed on February 7, 2011 . FMS

NY is listed as owned by his sister Marina Afra and Defendant Jennifer Retas.

       41 . By way of industry background, merchant cash advances (MCA's) are a

relatively new alternative funding product for businesses. If a business needs cash for

working capital, often a traditional bank or finance company will deny the loan or require

too much paperwork or time to make a lending decision. The underwriting is much

simpler with MCA's, requiring usually just an application, personal guarantee by a

business owner and six months bank statements. The downside is that it is expensive

money, and the payback begins the next day after funding and is paid back every day

instead of monthly. Additionally, despite legal semantics of MCA's being couched as

"discounted purchase of future revenues," they are in essence a loan at very high

interest rates, the equivalent APR rate of anywhere from 50% to over 300% interest.

Moreover, while there are many legitimate funders in this sphere, there are also many

abuses and 'lunk fees" at funding and excessive brokerage commissions tacked on.

       42. In the industry, there are brokers who do not fund directly; they merely sell

to the business owners. There are direct funders or capital sources that actually

provide the money, and from there they may "Iay off" a percentage (very much like




                                            11
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 12 of 21



commercial banks) by syndicating with other direct funders especially on deals over

$100,000.00. Finally, there are companies that both broker and direct-fund. It is a

growth industry, and MCA's now account for over $5 billion per year in funding.

      43. Most MCA's are sold and marketed through outbound telemarketing

solicitation calls to business owners by what are termed "ISO's" or independent sales

organizations. Some are more professional than others, calling only those businesses

that are "qualified leads" or who have expressed interest in an alternative financing

product, and take a consultative approach to obtain financing that is in the best interest

of the customer. Other ISO's are more sales "boiler rooms" and often use unethical


business practices to close these MCA loans.

      44. By way of further background into Defendants and into Relators/Plainitffs

Burke and Curtin, the Defendants Schiavi, Mendez and Walsh have been involved in

one or more partnerships and/or joint ventures in the debt collection business, including

the lucrative debt-buying and debt brokerage space. As such, they are experienced

businessmen who could build an operational outbound sales call platform and also sell

MCA's. In September of 2014, Boost Business Funding was formed and became

involved with Defendant Mangi because they saw the amounts of money Mangi is

capable of generating through his "sales techniques."

      45. Relator Burke was recruited by Defendant Neil Walsh to join Boost as an

Equipment Leasing Specialist in July of 2015. Burke was led to believe that Boost was

a professional ISO, and was to provide comprehensive funding solutions to small and

medium sized businesses, and Burke was to focus on equipment Ieasing to expand

Boost's profits and customer base in a consultative fashion. Burke is considered an




                                            12
          Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 13 of 21



expert in equipment leasing, has over twenty years of experience in it with a stellar

record of accomplishment in the industry.

      46. Relator Curtin was recruited by Defendant Neil Walsh to join Boost as a

Funding Specialist in April of 2015. Curtin was led to believe that Boost was a

professional ISO, and was to provide comprehensive funding solutions to small and

medium sized businesses, and Curtin was to sell MCA's and other financial products

such as term loans and equipment leasing in a consultative fashion. Curtin has an

undergraduate degree in finance, a law degree, is a Small Business Development

Center Certified Business Advisor and has extensive experience guiding and advising

businesses.


      47. Sometime after Relator Burke joined the company, the vision that

Defendant Walsh presented had not yet materialized in terms of professionalism,

consultative approach and income and earnings for funding and leasing specialists Iike

Relators. Sometime in July of 2015, Defendant Mangi appeared at Boost's offices,

whom Relators had not yet met nor heard of, and began directing how things were to be

done - completely at odds with the vision Walsh had presented. Relators conferred

privately and concluded that Walsh was a "front," that the company is all about "bait and

switch" and that Roberto Mangi is the one who really runs the company.

      48. In this regard, the Sales Director was Maria Bentley, a Tormer waitress

with no college degree, who insisted that the representatives and specialists do

anything - including lie to the customers - to close a sale. Mangi insisted on a certain

number of "call minutes" per day like a "boiler room operation" - never taking no for an

answer.




                                            13
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 14 of 21



      49. Mangi boasted to Relators and others in October of 2015 that his sales

commission income is $100,000 per month, that he is the owner of Boost and FMS CA

and FMS NY, and will terminate non-performing employees. Relator Curtin also Iearned

that Mangi bragged that "his sister has no idea how many companies she owns," that

"he stays one step ahead of the SEC and IRS," and that "he has Iawyers in every state."

       50. Relator Burke left the company in October 2015. Curtin stayed on,

working more closely with Walsh and Elevation Capital and therefore learning more

about the interlocking connections among Defendants, but also left in December of

2015. Curtin Iearned more recently that Mangi now brokers approximately $4,000,000

per month alone in MCA's, and with an average commission of 8 points, now makes

some $320,000 per month in sales income alone.

       51. Relators conferred again privately in December 2015 and conducted

additional research into Defendant Mangi due to the nearly shocking lack of business

ethics and professionalism by Mangi and concern for their own professional careers and

reputations.

       52. Relators uncovered both Mangi's background and a sophisticated web of

interconnected companies designed in part to shield Defendant Mangi's assets and

income from the Government's scrutiny.

V. THE FRAUDULENT SCHEME


       53. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

       54. The Defendant's fraudulent scheme had the following elements:




                                            14
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 15 of 21



             a.     Upon and information and belief and contrary to the terms and

      restrictions of his plea deal, Defendant Mangi has associated with and engaged

      in financial transactions with brokers and dealers.


             b. Upon and information and belief and contrary to the terms and

      restrictions of his plea deal, Defendant Mangi has retained and/or acquired

      ownership of various financial organizations, mostly in his sister's name, and

      presently has an annual income of at least $3,840,000.00 in commissions alone.

             C.     Upon and information and belief and contrary to the terms and

      restrictions of his plea deal, Defendant Mangi has hidden income and assets and

      failed to pay government-ordered restitution to his former clients.

             d. Upon and information and belief and contrary to the terms and

      restrictions of his plea deal, Defendant has failed to pay civil fines and penalties

      to the United States government.

      55. Between approximately February 7, 2011 and the present, Defendant

Mangi has retained and/or acquired at least fifty (50) percent ownership and/or control

of Boost, FMS NY, FMS CA, FMS Capital, Jet Stream, Gotham and Mercy Falls,

despite not having his name legally attached to these companies.

      56. Upon information and belief, Defendant Mangi has an undisclosed

ownership interest and or syndicating partnership and/or joint venture arrangement with

Defendants Elevation Capital, Gotham Capital, Lawrence Schiavi and Luis Daniel

Mendez.


      57. As evidence of this ownership and/or control, between April 10, 2015 and

December 8, 2015 Defendant Mangi countermanded Neil Walsh, a management-Ievel




                                            15
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 16 of 21



executive of Boost, numerous times as if Mr. Walsh were Defendant Mangi's

subordinate.


       58. As further evidence of this ownership and/or control, despite Defendant

Mangi working primarily out of California, he travels to the Boost offices in New York

regularly and interacts with the Boost offices in New York via video conference regularly

and everyone in the Boost offices defers to Mangi as if he is the boss.

       59. As further evidence of this ownership and/or control, Defendant Mangi

listens to various Boost agents' phone calls and has access to all agents' emails without

their knowledge, and records agents' conversations with customers without their

knowledge and consent.

                                          Count I
                                    False Claims Act


       60. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

       61. Upon information and belief, according to Defendant Mangi's plea

agreement, restitution orders, and terms of his release from incarceration, Defendant

Mangi is required to accurately report his employment, income and assets.

       62. Upon information and belief, Defendant Mangi has by act or omission of

material fact knowingly made, used or caused to be made or used "a false record or

statement material to an obligation to pay or transmit money or property to the

Government, or knowingly [concealing] or knowingly and improperly [avoiding] or

[decreasing] an obligation to pay or transmit money or property to the Government."

       63. By reason of Defendant Mangi's practices, as aforesaid, the Government

has suffered substantial damages.



                                             16
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 17 of 21



       64. Therefore Defendant Mangi is liable for treble damages and forfeitures

under the False Claims Act, 31 u.s.c. § 3729- et seq., as amended.

                                          Count ll
                   Fraudulent Conveyance to Avoid Paying a Debt

       65. Plaintiffs incorporate by reference all of the allegations contained in the

foregoing paragraphs as if fully restated herein.

       66. Defendants Marina Afra and Steven Afra knew or should have known that


Defendant Mangi owed an obligation to the Government.

       67. Defendants Marina Afra and Steven Afra knew or should have known that


Defendant Mangi conveyed monies, assets, and other valuable property in Marina

Afra's name without fair consideration.


       68. Defendants Marina Afra and Steven Afra knew or should have known that


Defendant Mangi is the true and equitable owner of conveyed monies, assets, and other

valuable property in Marina Afra's name without fair consideration.

       69. Consequently, the conveyance of any monies, assets and other valuable

property in Marina Afra's name without fair consideration from Defendant Mangi should

be annulled and set aside.


       70. Because this is a "matured claim" as that term is described in NY D&C


Law §278, any conveyed monies, assets, and other valuable property, including

Defendant companies, from Defendant Mangi to Marina Afra or Steven Afra should be

immediately attached and levied pursuant to NY D&C Law §278.

       71 . Alternatively or in addition, said Defendants have also made transfers and

conveyances of monies, assets, and/or other valuable property in violation of 28 u.s.c.

§ 330 et seq.



                                             17
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 18 of 21



      72. Defendants Schiavi, Walsh, Mendez, Retas, and Bentley knew or should

have known the full extent of Mangi's background and that Defendant Mangi owed a

large financial obligation to the Government.

      73. However, Defendants Schiavi, Walsh, Mendez, Retas, and Bentley,

became partners with, co-mingled assets with, established joint ventures with, and/or

profited from a relationship with Defendant Mangi knowing that they would have to

maintain an ongoing faqade through a complex web of secret, illicit, and interlocking

ownership and control schemes to continue to profit from their relationship with Mangi.

       74. In addition, the aforementioned conduct was facilitated through various

legal entities, including but not Iimited to, Defendants Boost Business Funding, LLC,

Funding Merchant Source NY, Inc., Funding Merchant Source, LLC, FMS Capital, LLC,

Jet Stream Capital, LLC, Gotham Capital, LLC, Mercy Falls, LLC, Elevation Capital,

LLC, and one or more other currently unknown John Doe companies.

       75. And because this is a "matured claim" as that term is described in NY


D&C Law §278, any conveyed monies, assets, and other valuable property, including

Defendant companies interlocked through ownership and/or management with

Defendant Mangi, any co-mingled or intertwined monies or assets should be

immediately attached and levied upon pursuant to NY D&C Law §278, or, in the

alternative, attached under the provisional remedies of CPLR 6201 .

       WHEREFORE, Plaintiffs Matthew Burke and David Curtin pray for judgment

against Defendants as follows:

       1 . Defendants cease and desist from violating 31 u.s.c. § 3729;




                                            18
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 19 of 21



       2. This Honorable Court enter judgment against Defendants in an amount

equal to three times the amount of damages the United States has sustained because

of Defendants' actions, plus a civil penalty of not Iess than $5,500.00 and not more than

$11 ,000 for each violation of 31 u.s.c. § 3729;

       3. Plaintiffs be awarded the maximum amount allowed pursuant to § 3730(d)

of ?he False Cla!ms ACI an amoun( of af leas( 10% and up (0 25% of !he amoun(s

recovered if the Government elects to intervene in this action; and, an amount of at

leas! 25% and up }0 30% of ?5e amoun}s recovered !f fMe Governmenf elecfs f0 nof

intervene in this action;

       4. Plaintiffs be awarded pre-judgment interest, costs, and attorneys' fees;

       s. This Honorable Court issue an Order setting aside any Fraudulent

Conveyances related to this action;

       6. This Honorable Court issue an Order of Attachment and Levy on

Defendants' assets and bank accounts;

       7. For such other and further relief that the Court deems just, proper and

equitable.

                                      JURY DEMAND


       Plaintiffs demand trial by jury.


DATED: April 29, 2016
              Buffalo, NY 14202

                                          FLYNNIWIRKUSIYOUNG, P.C.

                                          'zrtA !?' O?                   Ii('1


                                          gcott R. Orndoff, Esq. -'U '!j
                                          Attorney for Plaintiff
                                          534 Delaware Avenue, Suite 014



                                            19
        Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 20 of 21



                               CERTIFICATE OF SERVICE



       The undersigned, Scott R. Orndoff, hereby certifies that a copy of the foregoing

pleading was served upon The Attorney General via the u.s. Attorney for Western

District of New York, pursuant to FRCP Rule 4(i)(1 )(A)(i), on this 29fh day of April, 2016.

                                                  Su>* ?                         >MO
                                                                             !,A,/
                                                  Scott R. Orndoff




                                             21
                Case 1:16-cv-00345-EAW Document 1 Filed 05/03/16 Page 21 of 21



                                                                Buffalo, NY 14202
                                                                716-858-3112 - Phone
                                                                61 7-773-551 0 - Facsimile

G:1F & AICASE           Cases{Butke, Mat} Qui TamlPleadingslComplaintlComplain( DRAFT 3.4.1 6.docx



To:


VIA HAND-DELIVERY


Hon. William J. Hochul, Jr.
United States Attorney for the WDNY
138 Delaware Avenue
Buffalo, NY 14202


Mary Pat Fleming, Chief, Civil Division
Assistant United States Attorney
United States Attorney for the WDNY
138 Delaware Avenue
Buffalo, NY 14202




                                                                    20
